            Case 01-01139-AMC       Doc 22801-2   Filed 08/14/09   Page 1 of 14

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                                          - 2 -
            Case 01-01139-AMC   Doc 22801-2    Filed 08/14/09   Page 3 of 14



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            Case 01-01139-AMC    Doc 22801-2    Filed 08/14/09   Page 4 of 14



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            Case 01-01139-AMC    Doc 22801-2    Filed 08/14/09   Page 5 of 14



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                                        - 5 -
            Case 01-01139-AMC      Doc 22801-2    Filed 08/14/09   Page 6 of 14



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            Case 01-01139-AMC       Doc 22801-2    Filed 08/14/09   Page 7 of 14



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            Case 01-01139-AMC    Doc 22801-2    Filed 08/14/09   Page 8 of 14



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                                        - 8 -
            Case 01-01139-AMC    Doc 22801-2    Filed 08/14/09   Page 9 of 14



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           Case 01-01139-AMC    Doc 22801-2   Filed 08/14/09   Page 10 of 14



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                                       - 10 -
           Case 01-01139-AMC    Doc 22801-2   Filed 08/14/09   Page 11 of 14



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                                         - 11 -
           Case 01-01139-AMC    Doc 22801-2   Filed 08/14/09   Page 12 of 14



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                                       - 12 -
           Case 01-01139-AMC     Doc 22801-2    Filed 08/14/09   Page 13 of 14



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           Case 01-01139-AMC      Doc 22801-2   Filed 08/14/09   Page 14 of 14



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